JS 44 (Rev. 04/21)                   Case 2:21-cv-04778-PD
                                                      CIVILDocument
                                                            COVER1SHEET
                                                                    Filed 10/29/21 Page 1 of 11
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
          KEVIN NIEVES                                                                                     BOROUGH OF WEST CHESTER, et. al.
    (b)   County of Residence of First Listed Plaintiff            LUZERNE                                 County of Residence of First Listed Defendant              CHESTER
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          Aaron B. Gorodetzer, Esq., Sbarbaro Law Offices, LLC
          705 Gordon Drive, Exton, PA 19341, 610-344-7300
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument               Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                    430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
    152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
         Student Loans                 340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                           Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation            ✖ 440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                           Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                           Other                       550 Civil Rights                  Actions                                                                State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         42 USC 1983
VI. CAUSE OF ACTION                      Brief description of cause:
                                         EXCESSIVE FORCE
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                                DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
10-29-2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
                              Case 2:21-cv-04778-PD
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT   10/29/21 Page 2 of 11
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                KEVIN NIEVES - 124 West Enterprise Street, Glen Lyon, PA 18617
Address of Plaintiff: ______________________________________________________________________________________________
                      BOROUGH OF WEST CHESTER, et. al. 401 E Gay Street West Chester, PA19380
Address of Defendant: ____________________________________________________________________________________________
                                                                        West Chester, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      10/29/2021
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                                    203384
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________

✔      11.    All other Federal Question Cases
                                           1983 Excessive Force
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

       Aaron B. Gorodetzer, Esq.
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


      10/29/2021
DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                                    203384
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN NIEVES,                                                :
                          Plaintiffs,                        :
        vs.                                                  : CIVIL NO. 2:21-cv-04778
                                                             :
BOROUGH OF WEST CHESTER,                                     : CIVIL ACTION
OFFICER JERRY FERRIOLA                                       :
OFFICER GREG CUGINO                                          :
               Defendants.                                   : JURY TRIAL DEMANDED

                                               COMPLAINT

                                    PRELIMINARY STATEMENT

1. This is an action under 42 U.S.C. § 1983 and the United States Constitution challenging the policy

    and practice of the Borough of West Chester denying citizens in custody medical treatment for

    injuries suffered during an arrest, the failure to supervise and train police officers to refrain from

    utilizing methods of arrest that constitute excessive force stemming from a November 2, 2019

    incident whereby Borough of West Chester Police Officers Jerry Ferriola and Greg Cugino utilized

    excessive force during an arrest of Plaintiff Kevin Nieves during an incident outside Barnaby’s

    restaurant whereby the officers used excessive force, forced Mr. Nieves to the ground, and one of

    them struck Mr. Nieves in the head with a closed fist. As a result of the referenced customs and

    policies of Borough of West Chester and the conduct of the aforementioned officers Plaintiff Kevin

    Nieves suffered injuries to his face, head, neck and back, as well as bruising and psychological injury.

    The outrageous conduct of the Defendants violates numerous constitutional protections. Defendants

    also assaulted, battered and intentionally inflicted emotional distress upon Mr. Nieves.

                                        JURISDICTION AND VENUE

2. This court has jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. § 1343, 42 U.S.C. § 1983, and the

    Fourth, and Fourteenth Amendments to the United States Constitution.

3. Venue for this action properly lies in this Judicial District pursuant to 28 U.S.C. § 1391 (b) because

    all of the events that give rise to the claims in this action occurred in this District.
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4. This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

    U.S.C. § 1367.

                                                PARTIES

5. Plaintiff Kevin Nieves is and was at all relevant times a citizen of the Commonwealth of

    Pennsylvania and the United States of America, currently residing at 124 West Enterprise Street, Glen

    Lyon, PA 18617.

6. Defendant, Borough of West Chester, is a municipal corporation with an address of 401 East Gay

    Street, West Chester, PA 19380 and acts through its agents and employees, including Officers

    Ferriola and Cugino. The City operates under a Mayor/ Council/Manager form of government with

    authority over all borough functions including law enforcement, to include the West Chester Borough

    Police, and the enactment and enforcement of legislation, ordinances, and regulations governing the

    borough.

7. At all times material hereto, Officer Jerry Ferriola, is and was a law enforcement officer for the West

    Chester Borough Police and is being sued in his official and individual capacity. At all times material

    hereto, Defendant Ferriola was acting under color of state law.

8. At all times material hereto, Officer Greg Cugino, is and was a law enforcement officer for the West

    Chester Borough Police and is being sued in his official and individual capacity. At all times material

    hereto, Defendant Cugino was acting under color of state law.

                                     FACTUAL ALLEGATIONS

9. Plaintiff hereby incorporates each of the foregoing paragraphs as if set forth fully herein.

10. On or about November 1-2, 2019, Kevin Nieves was celebrating his birthday with friends in West

    Chester Pennsylvania, a suburban college town.

11. Mr. Nieves started the evening at Barnaby’s, a restaurant/bar in West Chester, Pennsylvania.

12. After leaving Barnaby’s and going to a different establishment, Mr. Nieves realized he did not have

    his cell phone.
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13. Believing he had left it at Barnaby’s he attempted to return to Barnaby’s where he was denied

    admittance.

14. After an exchange with an employee at the door of Barnaby’s, Officers Jerry Ferriola and Greg

    Cugino were summoned by the Barnaby’s employee.

15. The officers led Mr. Nieves to their police car.

16. They then moved Mr. Nieves to the rear of the car and tackled him to the ground.

17. It should be noted that Mr. Nieves is short (approximately 5’6”) and slight of build (approximately

    150 lbs.), while the officers in question are much larger and more powerful that Mr. Nieves.

18. While on the ground one of the officers shouted at Mr. Nieves “on your belly now”.

19. Since Mr. Nieves at that moment was in the grasp of both Officers Ferriola and Cugino he was unable

    to comply, at which point, one of the officers with a closed fist struck Mr. Nieves in the head.

20. The officers than rolled Mr. Nieves onto his belly with Officer Ferriola placing his knee on Mr.

    Nieves back.

21. Mr. Nieves complained of injury, but was taken to the police station and not to the hospital to receive

    medical treatment, despite request by Mr. Nieves for the need for same.

22. Following their release Plaintiff Kevin Nieves reported to the emergency room for treatment for the

    injuries he sustained.

23. As a direct result of the above described acts, Plaintiff Kevin Nieves:

        a. suffered injury to his eye, face, head, neck, and back, and bruising over his body and

            psychological injury,

        b. was forced to endure pain, mental suffering, humiliation and embarrassment,

        c. was forced to incur medical and legal expenses, and

        d. was deprived of his physical liberty, all to his great detriment and loss.

24. The actions of all Defendants in the case were undertaken under color of state law and in the absence

    of justification, probable cause and/or or other valid or reasonable lawful basis.
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25. The actions of the Defendants violated the clearly established and well-settled federal, constitutional,

    and state law rights of Mr. Nieves to be free from the use of excessive, unreasonable, and unjustified

    force against his person.

                                          COUNT I
                                    Use of Excessive Force
Under 42 U.S.C. § 1983; Fourth and Fourteenth Amendment to the U.S. Constitution
                          Defendants Jerry Ferriola and Greg Cugino

26. Plaintiff hereby incorporates each of the foregoing paragraphs as if set forth fully herein.

27. On or about November 2, 2019, Defendant Officers Jerry Ferriola and Greg Cugino violated

    Plaintiff’s Fourth and Fourteenth Amendment protections against unreasonable seizure when they

    utilized excessive force against Plaintiff, denied him timely medical attention for the injuries as set

    forth above, and/or failed to intervene and take reasonable steps to prevent the use of excessive force.

28. The Officers’ Conduct was willful, wanton, and with reckless disregard for the Plaintiff’s

    constitutional rights and caused him great injury.

                                           COUNT II
        Under 42 U.S.C. § 1983; Fourth and Fourteenth Amendment to the U.S. Constitution
                                   Municipal Custom/Practice
                               Defendant Borough of West Chester

29. Plaintiff hereby incorporates each of the foregoing paragraphs as if set forth fully herein.

30. Upon information and belief, prior to November 2, 2019, municipal defendant Borough of West

    Chester, through its agents and/or employees, was responsible for, aware of, approved of, acquiesced

    in, was deliberately indifferent to, and/or tolerated and ratified a pattern and practice of use of

    excessive force and denial of medical treatment to individuals in custody when arresting individuals,

    including:

        a. Failing to discipline or prosecute or in any manner deal with known incidents of abuse of

            police powers by West Chester Borough police officers;

        b. Refusing to investigate complaints of previous incidents of abuse of police powers and

            instead officially claimed that such incidents were justified and proper; and
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        c. By means of both inaction and cover-up of such abuse of police powers, municipal

             defendants encourage police officers including defendant officers in this case to believe that

             such abuse of police powers, including the use of excessive force was permissible.

        d. Allowing and tolerating the use of closed fist punches without necessity.

31. Municipal defendants have maintained either an inadequate system or no system of review of the civil

    rights violations by police officers, which results in the failure to identify instances of improper use of

    police powers, and/or failure to discipline, closely supervise officers, train officers, and/or retrain

    police officers who improperly engage in an abuse of police powers. Upon information and belief, the

    system deficiencies include, but are not limited to:

        a. Failing to develop, implement, carry out, and ensure compliance with policies, practices,

             customs, and/or procedures necessary to prevent excessive use of force;

        b. Preparation of investigative reports designed to vindicate the abuse of police powers,

             regardless of whether such actions were justified;

        c. Preparation of investigative reports which uncritically rely solely on the word of police

             officers involved in the incidents and which systematically fail to credit testimony by non-

             police officer witnesses;

        d. Preparation of investigative reports which omit factual information and physical evidence

             which contradict the accounts of the police officers involved;

        e. Issuance of statements exonerating officers involved in such abuse of police powers prior to

             the conclusions of investigation; and

        f.   Failure to review investigative reports by responsible superior officers for accuracy or

             completeness and acceptance of conclusions which are unwarranted by the evidence or which

             contradict such evidence.

32. Upon information and belief, municipal defendants also maintain a system of grossly inadequate

    training pertaining to arrests and appropriate use of force and when to allow individuals injured by

    force utilized by officers to receive timely medical treatment stemming from same.
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33. The foregoing acts, omissions and systemic deficiencies, policies and/or customs of municipal

    defendant have caused police officers of municipal defendant to be unaware of the rules and laws

    governing legal arrests and appropriate use of force in same, and to believe that said issues were

    entirely within the discretion of the officer and an improper use of police powers would not be

    honestly and properly investigated, all with the foreseeable result that officers are more likely to

    engage in abuse of police powers and utilizing force that was unreasonable, excessive and

    unnecessary under the circumstances and illegal.

34. Municipal defendants failed to promulgate and enforce a policy relating to the use of force during an

    arrest which is not in violation of the United States Constitution, thereby causing and encouraging

    police officers, including defendant officers in this case, to violate the rights of citizens such as

    plaintiff.

35. Municipal defendant failed to properly sanction or discipline officers who are aware of and

    subsequently conceal and/or aid and abet violations of constitutional rights of citizens including

    Fourth Amendment rights violations by other police officers, thereby causing and encouraging police

    officers, including defendant officers in this case, to violate the rights of citizens such as plaintiff.

36. Municipal defendant has intentionally and/or with conscious indifference to the danger of harm to

    citizens like plaintiff, established a system which fails to identify, track or report instances of

    excessive force and which is used by municipal defendants to conceal the extent to which police

    officers engage in such improper conduct.

37. The foregoing acts, omissions and systemic deficiencies of policies, practices and customs of

    municipal defendant have caused police officers of municipal defendant, including defendant officers

    in this case, to be unaware of or to disregard the rules and laws governing lawful use of force during

    an arrest, and believe that the violations of citizen's civil rights without just cause is a proper police

    practice, entirely within the discretion of the officer and that said use of excessive force would not be

    honestly and properly investigated by the Police Department, all with the foreseeable result that
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    officers, including defendants, are more likely to engage in said abuse by police powers and use of

    excessive force.

38. Municipal defendants are directly liable for their own acts and omissions, specifically with regard to

    the failure to train and the promulgation of violations of the plaintiff's Fourth and Fourteenth

    Amendment rights through the maintenance of a policy, custom, practice and/or procedure that

    ratifies, condones, and/or tolerates such violations.

39. As a direct and proximate result of the aforesaid acts, omissions, systemic deficiencies, policies and

    customs of municipal defendant, defendant officers violated plaintiffs Fourth and Fourteenth

    Amendment rights and improperly engaged in abuse of police powers, thereby causing severe

    personal injuries, and other damages more specifically set forth above in plaintiff's complaint.

                                        COUNT III
                       INTENTIONAL TORT CLAIM AGAINST DEFENDANTS
                                  FERRIOLA AND CUGINO
                                  ASSAULT AND BATTERY

40. Plaintiff hereby incorporates each of the foregoing paragraphs as if set forth fully herein.

41. Defendants Ferriola and Cugino used excessive force by punching Mr. Nieves in the head

    and tackling him to the ground and forcibly placing a knee on Mr. Nieves back.

42. Defendants Ferriola and Cugino’s use of excessive force was intended to cause harmful

    and/or offensive contact with Mr. Nieves.

43. Defendants Ferriola and Cugino intended to put Mr. Nieves in reasonable and immediate fear

    of a harmful or offensive contact.

44. As a result of Defendants Ferriola and Cugino’s acts, Mr. Nieves was put in reasonable and

    immediate fear of harmful or offensive contact.

45. Harmful and/or offensive contact with Mr. Nieves directly resulted from Defendants Ferriola

    and Cugino’s actions.
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46. Defendants Ferriola and Cugino’s conduct was not authorized, justified, or otherwise

   privileged.

47. Defendants Ferriola and Cugino committed these intentional torts against Mr. Nieves

   knowing that their actions were wrongful.

48. Defendants Ferriola and Cugino’s desire was to bring about the result substantially certain to

   follow from Defendant’s actions – injuries to Plaintiff.

49. The actions of Defendants Ferriola and Cugino were willful, wanton, reckless, callously

   indifferent, and in conscious disregard for the safety of others.

50. As a direct and proximate result of the above-described actions of Defendants Ferriola and

   Cugino, Plaintiff sustained severe injuries, causing him great physical pain and mental

   anguish.

                               COUNT IV:
        INTENTIONAL TORT CLAIM AGAINST DEFENDANTS FERRIOLA AND
        CUGINO FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

51. Plaintiff hereby incorporates each of the foregoing paragraphs as if set forth fully herein.

52. Defendants Ferriola and Cugino acted in an extreme and outrageous manner in by punching

   Mr. Nieves in the head and tackling him to the ground and forcibly placing a knee on Mr.

   Nieves back and/or failing to allow him to get prompt medical attention.

53. Upon information and belief, they acted intentionally and with reckless disregard for Mr.

   Nieves’ welfare, inflicting permanent emotional distress on Plaintiff.

54. Defendants acted in an extreme and outrageous manner in restraining Mr. Nieves, , punching

   Mr. Nieves in the head and forcibly placing a knee on Mr. Nieves back.

55. As a direct and proximate result of the above-described actions of Defendants Ferriola and

   Cugino, Mr. Nieves suffered emotional distress that was severe in nature.
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56. Defendants Ferriola and Cugino’s actions were of such an outrageous nature as to rise to the

    level of intentional, willful, wanton, or reckless conduct.

                                          IV. RELIEF SOUGHT

57. Plaintiff hereby incorporates each of the foregoing paragraphs as if set forth fully herein.

58. Plaintiff Kevin Nieves seeks compensatory damages, against each and every named Defendant

    herein, jointly and severally, in an amount in excess of One Hundred Fifty Thousand ($150,000.00)

    Dollars.

59. Plaintiff Kevin Nieves seek punitive damages against each and every named Defendant herein, jointly

    and severally, in an amount in excess of One Hundred Fifty Thousand ($150,000.00) Dollars.

60. Plaintiff Kevin Nieves seeks attorney fees, expert fees, interest, litigation expenses, and costs against

    each and every named Defendant herein, jointly and severally.

61. Plaintiff Kevin Nieves seeks such other and further damages as this Court may deem just and

    proper under the circumstances.

        WHEREFORE, Plaintiff, Kevin Nieves, respectfully prays that his demand for relief be granted

against each of the Defendants, jointly and severally.

        In Accordance with FRCP 38, Plaintiff, Kevin Nieves hereby demands trial by jury on all

appropriate issues.


                                          SBARBARO LAW OFFICES, LLC

DATE: 10-29-2021

                                 BY:      _/s/__________________________________
                                          Aaron B. Gorodetzer, Esquire
                                          Pa. Attorney ID No. 203384
                                          705 Gordon Drive
                                          Exton, PA 19341
                                          610-344-7300
                                          610-441-7523 (fax)
                                          Attorneys for Plaintiff
                                          Kevin Nieves
